Case 8:21-cv-00116-MSS-MRM Document 22 Filed 05/20/22 Page 1 of 2 PageID 119




                                         UNITED STATES DISTRICT
                                         COURT
                                         MIDDLE DISTRICT OF FLORIDA

                                         Case No: 8:21-cv-116
 PHILLIP BURTON

                 Plaintiff

 vs.

 UNITED STATES OF AMERICA

               Defendant
 ________________________________/

                          RE-NOTICE OF MEDIATION

       COME NOW the Plaintiff, Phillip Burton, by and through his undersigned
attorney, pursuant to the parties Joint Motion to Reschedule and this Court’s
having granted said Motion, and shows unto the Court that all parties in the
above-styled cause of action have agreed to mediation scheduled for Wednesday,
July 13, 2022, at 9:00 a.m. by Zoom Conference with Hilary High as mediator to
attempt to achieve a settlement of this case.
                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished by Email on the 20th day of May, 2022 to:


Stephanie S. Leuthauser
United States Attorney's Office
Office of the United States Attorney
400 N Tampa St Ste 3200
Tampa, FL 33602-4798
Stephanie.Leuthauser@usdoj.gov
Joycelyne.Figueroa@usdoj.gov
Case 8:21-cv-00116-MSS-MRM Document 22 Filed 05/20/22 Page 2 of 2 PageID 120

REN/ MED                                            Case No: 8:21-cv-116




Hilary High, Esquire
Hilary High, P.A.
5712 River Reserve Court
Tampa, FL 33619
Work: (813) 310-1742
hilarychigh@icloud.com



                                       KENNETH J. BUSH, P.A.
                                       Attorneys for the Plaintiff(s)
                                       The Biltmore Offices
                                       1200 Anastasia Avenue, Suite 340
                                       Coral Gables, FL 33134
                                       Tel: (305) 443-3795
                                       Fax: (305) 443-3843
                                       bush@kjbushlaw.com




                                              FLA BAR NO. 379352




                               KENNETH J. BUSH, P.A.
                               THE BILTMORE OFFICES
                         1200 ANASTASIA AVENUE, SUITE 340
                           CORAL GABLES, FLORIDA 33134
                     MIAMI-DADE (305) 443-3795 FAX (305) 443-3843
